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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )       Case No. 8:14CR156
                Plaintiff,                         )
                                                   )
                                                   )
      vs.                                          )            ORDER
                                                   )
ROCKY VERDUGO,                                     )
                                                   )
                     Defendant.                    )

      The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-named
defendant in support of a request for appointed counsel. After a review of the Financial Affidavit, I find that
the above-named defendant is eligible for appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the District of Nebraska.

      IT IS ORDERED:

       The Federal Public Defender for the District of Nebraska is appointed to represent the above named
defendant in this matter. In the event that the Federal Public Defender accepts this appointment, the
Federal Public Defender shall forthwith file a written appearance in this matter. In the event the Federal
Public Defender should decline this appointment for reason of conflict or on the basis of the Criminal
Justice Act Plan, the Federal Public Defender shall forthwith provide the court with a draft appointment
order (CJA Form 20) bearing the name and other identifying information of the CJA Panel attorney
identified in accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18 U.S.C.
§3006A(f). At the time of the entry of judgment herein, defendant shall file a current and complete financial
statement to aid the court in determining whether any portion of counsel's fees and expenses should be
reimbursed by defendant.

     IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal Public
Defender for the District of Nebraska.

      DATED this 24TH day of June, 2014.

                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
